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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN

JULIE A. SU, Acting Secretary of Labor,   Case No.: 1:23-mc-00066-PJG
United States Department of Labor,
                                          Judge Phillip J. Green
         Petitioner,

v.

FORGE INDUSTRIAL STAFFING, INC.,

         Respondent.

____________________________________/

     RESPONDENT FORGE INDUSTRIAL STAFFING, INC.’S RESPONSE TO
       PETITIONER SECRETARY OF LABOR’S PETITION TO ENFORCE
              ADMINISTRATIVE SUBPOENAS DUCES TECUM
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I.      INTRODUCTION

        The Department mischaracterizes the nature of this matter, claiming that it involves the

question of whether a company being investigated for compliance with the Fair Labor Standards

Act (“FLSA”) “has the authority to limit the investigation as it sees fit.” Respondent, Forge

Industrial Staffing, Inc. (“Forge”), is not seeking to limit the Department’s investigation, but is

rather requesting that the Department conduct its investigation in a manner that does not materially

harm Forge’s business or drive Forge out of business altogether. That is not hyperbole. Forge

has already suffered substantial harm, and it is desperate to avoid further, fatal harm to its

operations. For that reason, outside of the information at issue here, Forge has produced every

single document that has been requested and done everything else in its power to cooperate with

the Department, all in an effort to avoid this very dispute.

        The Department’s Petition involves a single, disputed request: the identification of each

and every one of Forge’s approximately 600 clients at its twelve business locations across

Michigan and Indiana, along with Forge’s contracts with those clients. The Department asserts

that this request is nothing more than a matter of purported efficiency. But Forge has already

provided the Department with the name and contact information for every single person who has

worked for Forge for the past three years. Forge has also offered – and remains willing – to

produce any of its employees for interviews by the Department at Forge’s offices, at Forge’s time

and expense. In an effort to resolve this dispute, Forge did just that, and a Department investigator

met with and interviewed a group of Forge employees that the Department selected. However, the

Department thinks it will be easier if it can show up at Forge’s customer locations, announce that

it is investigating child labor violations involving Forge employees, and interview workers. Forge

is asking that the Court balance and weigh the Department’s purported efficiency claim against

the material, substantial harm that Forge will incur.
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       This harm is not hypothetical. Forge has already lost multiple clients and millions of

dollars in revenue because of the Department’s investigation. If Forge is tarred with the brush of

a child labor law investigation, more clients will cut their ties and terminate their contracts. And

if the Department subsequently determines that there have been no violations, as Forge believes

will be the case, it will be too late. The damage will have already been done. Moreover, these

third-party clients, who are not under investigation, could themselves suffer substantial harm by

way of the publicity surrounding such interviews.

       At this point, the Court may be wondering why Forge has not discussed why it is being

investigated. The reason is simple: Forge has no idea. Here is what Forge does know. On

February 25, 2023, the New York Times published an expansive article addressing claimed

violations of child labor laws involving numerous employers in twenty different states. The article

quotes a former Forge employee, Nubia Malacara, as indicating that one of Forge’s clients,

Hearthside Foods, was knowingly employing minors. Ms. Malacara does not make any statements

regarding Forge in the article. In the days and weeks following the publication of that article,

Forge has been under the spotlight of numerous state and federal agencies.

       The past nine months of intensive, exhaustive investigations have not resulted in a single

claimed violation against Forge. Certainly, if any state or federal agency believed it had any

evidence that Forge was wrongfully employing minors, swift action would have been taken. There

is a reason that no violations have been claimed, and that no other state or federal agency has filed

a subpoena enforcement action. Forge takes extensive efforts to comply with the law and it has

cooperated with all investigators – including the Department – because Forge wants to be the first

to know if it has any problems that need to be addressed.




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         In sum, based on an article from last February that quoted one former Forge employee in

one of Forge’s offices involving one of Forge’s clients, the Department seeks the identification of

every single client from every single Forge location in two different states, based on no claimed

violations and nothing more than the stated purpose of determining whether Forge is complying

with the FLSA. Under these circumstances, the requested material is not relevant, the Department

already has the means to determine joint-employer information for any particular worker, and the

scope and purpose of the requested information is unduly broad and overly burdensome to Forge.

For these reasons, Forge respectfully requests that the Court deny the Department’s Petition.

II.      FACTUAL BACKGROUND

         A.     BACKGROUND REGARDING FORGE’S BUSINESS AND OPERATIONS

         Forge is a temporary staffing agency, connecting businesses and workers for temporary or

contract work. The company was founded in 1995 by its two individual owners. See Declaration

of Brian Oele, Exhibit A, at ¶ 2. Through its focus on relationships, with both clients and workers,

Forge has built a reputation as a trusted business partner for industrial manufacturers and as a

highly regarded employer among job candidates. The company now operates twelve offices across

Michigan and Indiana. Id. at ¶ 3-4.

         B.     FORGE TAKES EXTENSIVE PRECAUTIONS TO AVOID EMPLOYING MINORS

         Employers like Forge must deal with the reality that underage workers will provide false

information and present falsified documents in an effort to gain employment, and that bad actors

are growing more sophisticated. Faced with that reality, Forge invests significant time and effort

to avoid inadvertently employing underage workers. In its 28-year history, Forge has never even

been accused of a child labor law violation. See Ex. A at ¶ 5. Under no circumstances would

Forge ever knowingly place a child under the age of 18 with one of its clients. Id. at ¶ 6.



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       Forge has multiple safeguards in place in its application, interview, and onboarding

processes to confirm that applicants are at least 18 years old. Id. Forge’s staff is continuously

trained regarding Forge’s policies and identity verification practices, and staff members are

periodically tested, including by “mystery shoppers,” paid “applicants” who intentionally attempt

to get hired while being out of compliance with Forge policies. Id. at ¶ 7-9. Forge also periodically

engages outside counsel to audit its policies and procedures. Id. at ¶ 9.

       C.      THE FEBRUARY 25, 2023 NEW YORK TIMES ARTICLE

       On February 25, 2023, the New York Times published an expansive article on child labor

violations, which it claimed was the result of a 20-state investigation involving interviews with

over 100 migrant child workers.1 Included in the article is a reference to three under-age workers

who allegedly worked at one of Forge’s clients, Hearthside Food Solutions (“Hearthside”) in the

last year. One of Forge’s former employees, Nubia Malacara, is quoted in the article as stating

that she worked at Hearthside as a minor, and that “Hearthside didn't care” that it was “getting

young-looking workers whose identities had been flagged as false.” There are no statements or

assertions in the article that Forge knowingly placed minors at Hearthside or that Forge otherwise

violated any laws. See id. In response to the article, Forge retained outside counsel and

immediately undertook an extensive internal investigation to determine whether any of its

supervisors or administrative staff were either intentionally placing minors with clients or

otherwise failing to comply with company policies. See Ex. A at ¶ 11. Forge found no evidence

that either of those issues were occurring. Id. at ¶ 12.




       1
           See https://www.nytimes.com/2023/02/25/us/unaccompanied-migrant-child-workers
exploitation.html.

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           Forge also reviewed its employment records for information related to Ms. Malacara, and

it found information for Ms. Malacara in two different databases, representing two distinct types

and periods of employment with the company. Ms. Malacara first worked for Forge twelve years

ago as a temporary worker in Grand Rapids for three days in 2011. Id. at ¶ 13, 15-16. Ms.

Malacara reported a date of birth of November 10, 1992 in her application materials, which would

have made her 19 at the time. Id. at ¶ 16. This would have been the only time that Ms. Malacara

worked at Hearthside, despite the New York Times article seemingly referencing employment

within the past year, a false assertion.

           Ms. Malacara was hired again by Forge ten years later, in August 2021, as a Service

Coordinator, a full-time administrative position with Forge that involved her recruiting and

screening potential candidates for placement with Forge clients. After working for less than a

year, Ms. Malacara voluntarily resigned without notice in July 2022. Id. at ¶ 17. Forge later

determined that Ms. Malacara deleted all of her company e-mail folders before she resigned. Id.

at ¶ 21. Significantly, Forge has no record of Ms. Malacara ever reporting any issues with child

labor violations or concerns while working for Forge. Id. at ¶ 20. It is also significant to note that

Ms. Malacara listed a different date of birth, November 10, 1995, in her second application with

Forge, and applied with social security number different than the one she used ten years prior. Id.

at ¶ 22.

           D.     FORGE FULLY COOPERATED WITH ALL STATE AND FEDERAL INVESTIGATORS

           Forge was investigated by multiple state and federal agencies in the aftermath of the article.

With the sole exception of the client information at issue in this case, Forge has fully responded to

every request for information from every agency, has not had any disputes with any agency, and

has not been accused of any violations of law by any of the investigators.



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       Forge first received contact from the Michigan Department of Labor and Economic

Opportunity (“LEO”). Forge produced voluminous information to the LEO, including a list of

current and former employees who were employed with Forge and placed at Hearthside for the

period of February 27, 2022 to present. See Ex. A at ¶ 23. Forge also received Notices of

Inspection from the U.S. Department of Homeland Security (“DHS”), related to Forge’s Grand

Rapids offices. Forge fully complied with all of the requests, which again included a voluminous

production of information and documents related to current and former workers.

        In addition, Forge also received subpoena requests from the Department, which were much

more expansive than the requests from the other agencies. See Exhibit B. The twenty-six

categories of requested information included expansive requests for general corporate information.

Moreover, unlike other agency requests, the Department’s subpoena requests were not limited to

workers in Grand Rapids or those placed at Hearthside. Rather, the Department requested

extensive records for all current and former workers at every Forge location in Michigan and

Indiana for the past three years. With the exception of the client information at issue in this case,

Forge produced all responsive information. Specifically, Forge made two separate productions to

the Department, in March and May 2023, which together involved over 60,000 pages of material

and the production of native spreadsheets with tens of thousands of lines of information related to

Forge’s workers.

       E.      FORGE WORKED FOR SEVERAL MONTHS TO RESOLVE THE DEPARTMENT’S
               DISPUTED REQUEST FOR CLIENT INFORMATION

       From the very beginning, counsel for Forge explained Forge’s belief that producing client

information would cause significant, and perhaps fatal, damage to the company. See Declaration

of Brion Doyle, Exhibit C, at ¶ 2. As counsel for Forge explained to the Department, all of Forge’s

client contracts are terminable at will upon a short period of notice. See Ex. A at ¶ 26. Moreover,


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Forge has multiple competitors. Id. at ¶ 27. Thus, all of Forge’s clients have the right to terminate

their contracts with Forge, with ready access to many other staffing agencies. Id. at ¶ 28.

          Forge has already experienced devastating losses related to the article and investigation,

having lost 17 clients, representing approximately $9.5 million in annual revenue, with multiple

clients indicating that they were terminating or scaling back business in direct response to the

article and resulting investigation. Id. at ¶ 29. Forge also lost eight potential clients who either

intimated that they could no longer move forward with Forge due to the article and investigation

or simply broke off contact at that time. Id. at ¶ 30. These losses have resulted in layoffs at Forge,

and Forge’s overall revenue with its existing clients is down approximately 40%, much more so

than industry trends would dictate. Id. As of last month, Forge is struggling to break even.

          Forge has already suffered devastating harm, and additional client losses will put the

company out of business. For these reasons, Forge has worked extensively to reach a compromise

with the Department on this issue. For months before this litigation was initiated, counsel for

Forge engaged in discussions and proposed to Rina Russo, a Department investigator, that Forge

could make workers available for interviews at Forge’s offices. See Ex. C at ¶ 4. While the

Department was ostensibly considering that offer, they filed this Petition, to Forge’s surprise and

disappointment. Counsel for Forge immediately made contact with the Department’s attorney,

picking up the conversation about a resolution from where it had been dropped by Ms. Russo. Id.

at ¶ 5.

          First, counsel for Forge proposed a tolling agreement on any claims by the Department,

and the parties entered into such an agreement, setting a tolling period from August 15, 2023

through February 15, 2024. See Tolling Agreement, Exhibit D. Counsel for Forge then continued

to propose the alternative approach that Forge would provide its workers for interviews at Forge’s



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offices. As counsel for Forge explained, if Department personnel show up on job sites, they have

no guarantees that any workers will talk to investigators. See Ex. C at ¶ 6. In contrast, Forge

indicated that it was willing to pay workers and encourage and coordinate their participation,

guaranteeing a much higher likelihood of participation. Counsel for Forge also indicated that the

Department should select the workers it wanted to interview and would have unfettered access to

workers at Forge’s offices. Id. at ¶ 7.

       The Department agreed to Forge’s proposal, and, on August 8, 2023, the parties notified

the Court of their agreement on a proposed interim measure. See ECF No. 9, PageID.70. On

September 19, 2023, counsel for the Department provided Forge with its initial list of requested

employees for interviews. Forge immediately took steps to coordinate the interviews, informing

the selected employees that they should participate, should speak freely, would face no adverse

employment consequences, and would be paid double time for participating. See Ex. A at ¶ 33.

       At the end of the first round of Department interviews on September 28, a Forge

representative reminded the Department investigator that additional interviews had been scheduled

for the following day, to which the investigator responded “I think we are good, don’t you?” The

Forge representative responded that it was completely up to the Department, at which point the

investigator referenced the looming government shutdown and said that Forge could cancel the

remaining interviews and that the workers could call her if they wanted to do so. Id. at ¶ 36.

       On October 5, 2023, counsel for the Department contacted counsel for Forge with a

proposal to resolve this matter, indicating that the Department “would be willing to resolve the

subpoena enforcement action/forego the contractor information” if Forge agreed to produce a

package of employment documents for each employee, relinquishing its request for the client

information. See October 5, 2023 E-mail, attached as Exhibit E (emphasis added). However,



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even as Forge was preparing materials to respond to this request and resolve this matter, counsel

for the Department wrote six days later to indicate that the Department was no longer willing to

consider any compromise to resolve the subpoena dispute. See October 11, 2023 E-mail, attached

as Exhibit F. Counsel for Forge reached out to counsel for the Department to seek an explanation

for this abrupt change in course, and none was given, other than vague references to the political

nature of child labor issues.

III.   LAW AND ARGUMENT

       A.      RELEVANT LEGAL STANDARDS

       An administrative subpoena “is properly enforced if (1) it satisfies the terms of its

authorizing statute, (2) the documents requested were relevant to the [agency]'s investigation, (3)

the information sought is not already in the [agency]’s possession, and (4) enforcing the subpoena

will not constitute an abuse of the court's process.” Doe v. United States, 253 F.3d 256, 265 (6th

Cir. 2001). Even if the agency satisfies its initial burden on the first three points above, a subpoena

will not be enforced if the party opposing enforcement “demonstrates that the subpoena is

unreasonable, or issued in bad faith or for other improper purposes, or that compliance would be

‘unnecessarily burdensome.’” N.L.R.B. v. Am. Med. Response, Inc., 438 F.3d 188, 192–93 (2d

Cir. 2006).

       B.      THE REQUESTED INFORMATION IS NOT RELEVANT TO THE INVESTIGATION

       The Department argues that because it has “opened an investigation of Forge to determine

the company’s compliance with the FLSA,” it has the unfettered right to any and all information

that could potentially relate to compliance, including the identity and contracts with each and every

one of Forge’s clients, in every office and state in which the company does business. But that

argument is circular, and it makes the showing of relevancy a nullity. Under the Department’s

theory, any record tangentially related to a company’s employees or employment practices would

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automatically be relevant, without exception, without any suspicion of a violation, and just because

the Department “wants assurances” that the FLSA is not being violated. Such an argument is not

consistent with the law and is not supported by the authority in the Department’s briefing.

        “Although relevance is viewed broadly, the court does not have to simply accept the

agency's opinion as to what is or is not relevant to the investigation. Instead, the court should

weigh the likely relevance of the requested material to the investigation against the burden of

producing the material.” Doe v. United States, 253 F.3d 256, 267 (6th Cir. 2001). Thus, “a proper

subpoena is sufficiently limited in scope, relevant in purpose, and specific in directive so that

compliance will not be unreasonably burdensome.” United States v. Palmer, 536 F.2d 1278, 1282

(9th Cir. 1976).    Courts routinely limit or strike agency investigatory subpoenas based on

arguments of relevancy that are much more specific and expansive than what has been presented

in this case.2

        Here, the Department gives nothing more than the unsupported opinion that the requested

information is relevant to a general FLSA “compliance” investigation, and the Department has not

provided any information about the nature of that investigation to assist the Court in determining

relevancy. The Department does not contend that it has suspicions of violations at any particular

Forge location, or that it has uncovered any violations at all after several months of investigations.

Likewise, the Department does not explain why it needs client information from all Forge

locations, or why a concern at one of Forge’s independent branches (no concern has been

identified) would implicate concerns at others. Again, the argument here that “we get everything



        2
         Cf. E.E.O.C. v. Ford Motor Credit Co., 26 F.3d 44, 47 (6th Cir. 1994); E.E.O.C. v. United
Air Lines, Inc., 287 F.3d 643, 653 (7th Cir. 2002); E.E.O.C. v. Se. Food Servs. Co., LLC, No. 3:16-
MC-46-TAV-HBG, 2017 WL 2728422, at *4 (E.D. Tenn. June 23, 2017).



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so we can see whether there might be a violation” is not just contrary to the relevancy standard –

it would destroy that standard altogether.

       Moreover, the case law presented by the Department does not support a standard of

relevancy under which the Department’s pronouncement that it is generally investigating a

company for compliance with the FLSA opens the floodgates to any and all information related to

employees and employment, across a company’s entire business enterprise. To the contrary, and

as is summarized on the chart attached as Exhibit G, the case law in the Department’s briefing

involves (1) much more targeted investigations, allowing the courts to evaluate the claimed

relevancy of the requests; (2) outright refusals to produce documents and to reach any

accommodation with the Department; and (3) instances in which the courts limit the scope of the

requests even under those circumstances. The Department does not present a single case in which

it has been authorized to obtain all of a company’s employment–related records (let alone client

records) across all operations based merely on a general desire to determine whether a company is

complying with the FLSA.

       Here, the Department does not articulate why any particular client identification is relevant

to its investigation, nor does it articulate why the identity of all clients is relevant. Instead, the

Department argues that it needs the client information so it can conduct on-site interviews. That

is not a demonstration of relevancy, but the expression of an investigative preference: the

Department desires to interview workers at one location as opposed to another.

       C.      THE DEPARTMENT HAS ACCESS TO THE REQUESTED INFORMATION

       The Department has had contact information for Forge’s employees for more than six

months, and the ability to interview any and all of those workers. The Department has also

therefore had the ability to ask questions to determine joint-employer status in connection with

any work assignment. To Forge’s knowledge, the only interviews the Department has conducted
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to date are of those workers that Forge made available at the Department’s request. Regardless,

the Department has access to the information being sought, and it does not need the identification

of, and contracts with, Forge’s clients.

       “Concerns as to duplicative production,” and the government “seeking information already

within its possession threaten an undue burden upon the subpoenaed party.”             In re Civil

Investigative Demand 15-439, 2016 WL 4275853 at *7–8 (W.D. Va. Aug. 12, 2016). Here, the

Department’s request is based solely on the Department’s preference as to where worker

interviews occur. The Department apparently does not want to contact workers directly to set up

interviews or to have Forge set up the interviews; it wants to conduct the interviews at Forge’s

client locations. This is not a matter of the Department not having the means or information to

interview workers, or to determine joint-employer status when it does interview workers. The

Department already has the ability to interview workers and determine joint-employer status,

which is why it cannot satisfy this standard.

       D.      ENFORCING THE SUBPOENA WILL BE UNNECESSARILY BURDENSOME AND AN
               ABUSE OF PROCESS

       Finally, even if the Department could meet its initial burden, the Petition should still be

denied, as the requested information is unduly burdensome and an abuse of process. In evaluating

this standard, the Court is tasked with “weigh[ing] the likely relevance of the requested material

to the investigation against the burden to [respondent] of producing the material.” E.E.O.C. v.

Wal-Mart Stores East, LP, 2016 WL 1242540 (E.D. Ky. Mar. 29, 2016). Put another way, “[a]n

administrative subpoena thus may not be so broad as to be in the nature of a ‘fishing expedition.’”

F.D.I.C. v. Garner, 126 F.3d 1138, 1146 (9th Cir. 1997).

       Forge requests that the Court weigh the Department’s request, which boils down to a

preference as to where it conducts interviews, against the disruption and harm to Forge’s business


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and to the business operations of numerous third-party businesses who are not implicated in this

investigation in any way. Simply put, on-site interviews will destroy what is left of Forge’s

business, which is down 40% year to date and has already experienced multiple lost clients just by

being associated with this investigation. Moreover, it is not at all speculative to anticipate the

substantial harm that would result to any of Forge’s clients who are publicly implicated in a “child

labor” investigation, which is exactly what would happen if the Department conducts interviews

at client locations.

        The Court should also weigh the fact that the Department was willing to resolve this issue

without any client information – but withdrew the request before Forge could comply. The fact

that the Department itself concluded in writing that it could move forward without the client

information is not indicative of a good-faith need for the information and must tip the scale in

favor of Forge. The Department did a complete about-face in six days, with no intervening changes

and based on no claimed violations, without any regard for the harm that Forge will incur. This is

an abuse of process.

        Finally, and at minimum, Forge requests that the Court restrict the Department from

conducting interviews on site at Forge’s clients’ locations. “Since the enforcement of a subpoena

is an independent judicial action . . . a court is free to change the terms of an agency subpoena as

it sees fit.” United States v. Exxon Corp., 628 F.2d 70, 77 (D.C. Cir. 1980). See also F.T.C. v.

Owens–Corning Fiberglas Corp., 626 F.2d 966, 973–74 (D.C. Cir. 1980).; United States v. Exxon

Corp., 628 F.2d at 77; F.T.C. v. Texaco, Inc., 555 F.2d 862, 881 (D.C. Cir. 1997). “It is a legitimate

exercise of the court's authority to modify the terms of an agency subpoena by providing additional

confidentiality protections for a person or entity to whom the subpoena is directed, and particularly

for innocent third parties about whom the respondent that is the subject of subpoena may possess



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information.” Adair v. Rose Law Firm, 867 F. Supp. 1111, 1115 (D.D.C. 1994). To avoid harm

to Forge and to its clients, the Department should be precluded from interviewing Forge workers

on site at client locations given the adequate alternate means of obtaining those interviews.

IV.    CONCLUSION

       Based on the foregoing, Forge respectfully requests that the Court deny the Department’s

Petition or, alternatively, enter an appropriate protective order that limits both the scope and use

of the requested information.



                                                     Respectfully Submitted,

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